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        Attorneys for Plaintiffs and Proposed Class
     14
                                     UNITED STATES DISTRICT COURT
     15
                                   SOUTHERN DISTRICT OF CALIFORNIA
     16
        TARLA MAKAEFF, et al., on Behalf of           ) No. 3:10-cv-00940-CAB(WVG)
     17 Themselves and All Others Similarly Situated, )
                                                      ) CLASS ACTION
     18                                Plaintiffs,    )
                                                      ) DECLARATION OF RACHEL L. JENSEN IN
     19        vs.                                    ) SUPPORT OF PLAINTIFFS’ EX PARTE
                                                      ) APPLICATION         REGARDING  CLASS
     20 TRUMP UNIVERSITY, LLC, et al.,                ) CERTIFICATION REPLY DEADLINE AND
                                                      ) PAGE LIMIT
     21                                Defendants.    )
                                                      ) DATE:      Ex Parte
     22                                                 TIME:      Ex Parte
                                                        CTRM:      2, 4th Floor
     23                                                 JUDGE: Hon. Cathy Ann Bencivengo

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            1          I, RACHEL L. JENSEN, declare as follows:

            2          1.     I am an attorney duly licensed to practice before all of the courts of the State of

            3 California. I am a member of the law firm of Robbins Geller Rudman & Dowd LLP, one of the

            4 counsel for Plaintiffs in the above-entitled action. I have personal knowledge of the matters stated

            5 herein and, if called upon, I could and would competently testify thereto.

            6          2.     I submit this declaration in support of Plaintiffs’ Ex Parte Application Regarding

            7 Class Certification Reply Deadline and Page Limit and Memorandum in Support Thereof.

            8          3.     During the parties’ negotiations in May of 2012 concerning the briefing schedule for

            9 Plaintiffs’ class certification motion, my co-counsel Ms. Amber Eck of Zeldes & Haeggquist LLP

        10 and I met and conferred telephonically with defense counsel, Mr. David Schneider of Yunker &

        11 Schneider, concerning the parties’ anticipated submissions to ascertain how much time would be

        12 needed for Defendants to prepare their opposition and for Plaintiffs to prepare their reply,

        13 respectively. Mr. Schneider asked how many declarations Plaintiffs intended to submit to ascertain

        14 how much time Defendants needed for their opposition. Ms. Eck and I assured Mr. Schneider that

        15 Plaintiffs would only submit five or fewer declarations of parties other than Plaintiffs. On that basis,

        16 the parties agreed that Defendants would have a little over 60 days to prepare their opposition. See

        17 also Dkt. No. 106 at 3 (Joint Motion to Revise Schedule). Ms. Eck and I asked Mr. Schneider how

        18 many declarations Defendants intended to submit, so that we could determine how much time
        19 Plaintiffs would need to prepare their reply, and how many pages we would need. Mr. Schneider

        20 said he had no present intentions to submit any particular declarations, but he needed to see our
        21 motion. The parties contemplated that the briefing schedule may be altered once Plaintiffs’ class

        22 certification was filed. Id. at 4. Based on Mr. Schneider’s statements during the parties’
        23 negotiations, we did not anticipate Defendants would submit many declarations, and we hoped that if

        24 the submissions were different than anticipated, that the parties would work together cooperatively
        25 on a reasonable accommodation.

        26             4.     Further, in negotiating the parties’ joint motion for leave to exceed the page
        27 limitation, on or about September 2012, we agreed to Mr. Schneider’s request that the joint motion

        28 would seek no more than 15 pages for our reply brief but with the express understanding that

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            1 Plaintiffs would have an opportunity to request more pages for their reply brief if needed after

            2 reviewing Defendants’ opposition submissions, and the stipulation expressly states this. See Dkt.

            3 No. 117.

            4         5.      On September 24, 2012, Plaintiffs filed their motion for class certification. As

            5 promised, Plaintiffs confined the number of declarations submitted by witnesses other than the

            6 Proposed Class Representatives to four (4) in total.

            7         6.      Plaintiffs have been unable to obtain all relevant documents from Defendants to date.

            8 In the intervening months, Plaintiffs have diligently sought missing documents and electronically

            9 stored information (“ESI”) from Defendants. In some instances, the parties have successfully

        10 worked together; however, in other instances, defense counsel deferred discussions until after

        11 Defendants filed their opposition. For example, I sent a meet and confer letter to Mr. Schneider on

        12 November 14, 2012, concerning a number of outstanding discovery issues. Mr. Schneider responded

        13 to my letter by email stating that he would not discuss discovery issues until after Defendants

        14 submitted their opposition at the end of November. Since then, the parties have met and conferred

        15 concerning outstanding discovery issues, but they are still working through their disagreements in an

        16 attempt to reach agreement or impasse as to same.

        17            7.      During the October 10, 2012 telephonic status conference with Magistrate Judge

        18 Gallo, the parties raised a number of discovery issues, including Plaintiffs’ concern about missing
        19 documents and ESI, Plaintiffs’ request for documents of Defendants’ former employees and

        20 independent contractors, the sufficiency of Defendants’ litigation hold, and other related issues.
        21 Judge Gallo asked the parties to submit joint statements as to these disputes, which they did on

        22 October 31, 2012. Judge Gallo held an in-person hearing on these discovery disputes on December
        23 12, 2012, and his rulings are expected to be forthcoming.

        24            8.      On November 28, 2012, Mr. David Schneider’s office served a “Notice of
        25 Unavailability” on Plaintiffs’ counsel. Therein, Mr. Schneider said that he would be out of the

        26 country from December 21, 2012 until January 7, 2013, and was thus “unavailable by telephone,
        27 email, for court appearances or to attend depositions during that time period.” Mr. Schneider has

        28 since reiterated that Plaintiffs are not to schedule anything in this case while he is out of the country.

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            1          9.      On the evening of November 30, 2012, Defendants submitted their opposition to

            2 Plaintiffs’ motion for class certification. Their submissions totaled 6,716 pages, including 21

            3 declarations, a motion to strike certain declarations submitted by Plaintiffs, objections to Plaintiffs’

            4 evidence, and other submissions. See Dkt. Nos. 137-143.

            5          10.     That same evening of November 30, 2012, in order to get the ball rolling on discovery

            6 concerning the declarations submitted in support of Defendants’ opposition, I emailed Mr. Schneider

            7 to request discovery concerning certain declarants. My office later served deposition and document

            8 subpoenas on December 7, 2012.

            9          11.     Since Defendants filed their opposition, Mr. Schneider has provided deposition dates

        10 for some declarants, but due to scheduling conflicts, the intervening holidays, and Plaintiffs’ current

        11 deadline of January 14, 2013, the parties have been unable to arrange a suitable deposition schedule

        12 that would be of practical use to Plaintiffs in preparing their reply submissions if due on January

        13 14th. Further, we have not yet received documents concerning some of the declarants, and we are

        14 still in the process of negotiating the production of other documents and emails by Defendants.

        15             12.     In accordance with Civil Local Rule 83.3(h), I contacted Mr. Schneider on the

        16 morning of December 18, 2012, to request that Defendants consent to Plaintiffs’ modest requests

        17 herein for a scheduling accommodation and page limit expansion as it had become manifest to us

        18 that good cause existed for both requests. Defendants would not agree. Thereafter, my co-counsel
        19 Ms. Eck and I met and conferred telephonically with Mr. Schneider around 3:00 p.m. on

        20 December 18, 2012, in an attempt to reach agreement with Defendants as to Plaintiffs’ requests in
        21 good faith, but the parties were nevertheless unable to reach any agreement. Thus, we informed Mr.

        22 Schneider that Plaintiffs would file the instant motion.
        23             13.     Upon being advised Plaintiffs intended to file this motion, Mr. Schneider requested

        24 that the parties call the Court together. I teleconferenced in Chambers, but Mr. Schneider apparently
        25 dropped off the line (a fact of which we were unaware during our brief call with the Court’s clerk).

        26 We understand from an email sent by Mr. Schneider at 3:45 p.m. on December 18, 2012, that he
        27 thereafter called Chambers back and spoke to the clerk about the timing of Plaintiffs’ motion and

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            1 asked that we file the motion immediately due to his imminent departure from the country on

            2 December 21, 2012. Plaintiffs filed this motion as quickly thereafter as practicable.

            3          I declare under penalty of perjury under the laws of the United States of America that the

            4 foregoing is true and correct. Executed this 19th day of December, 2012, at San Diego, California.

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            6                                                                s/ Rachel L. Jensen
            7                                                               RACHEL L. JENSEN

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            1                                     CERTIFICATE OF SERVICE

            2          I hereby certify that on December 19, 2012, I authorized the electronic filing of the foregoing

            3 with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

            4 the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

            5 caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

            6 CM/ECF participants indicated on the attached Manual Notice List.

            7          I certify that pursuant to this Court’s standing orders, I caused the foregoing to be faxed and

            8 sent via electronic mail with return receipt to defense counsel:

            9          David K. Schneider
                       Yunker & Schneider
        10             655 West Broadway, Suite 1400
                       San Diego, CA 92101
        11             Telephone: 619/233-5500
                       619/233-5535 (fax)
        12
                       I certify under penalty of perjury under the laws of the United States of America that the
        13
                foregoing is true and correct. Executed on December 19, 2012.
        14

        15                                                         s/ Rachel L. Jensen
                                                                   RACHEL L. JENSEN
        16
                                                                   ROBBINS GELLER RUDMAN
        17                                                                & DOWD LLP
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Mailing Information for a Case 3:10-cv-00940-CAB-WVG
Electronic Mail Notice List

The following are those who are currently on the list to receive e-mail notices for this case.

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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
therefore require manual noticing). You may wish to use your mouse to select and copy this list into
your word processing program in order to create notices or labels for these recipients.

   (No manual recipients)




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